Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 1 of 15 PageID: 5




                          Exhibit A
    SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 1 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 2 of 15 PageID: 6




TURNER LAW FIRM , LLC
BY : ANDREW R . TURNER, ESQ.
76 South Orange Avenue - PO Box 526
South Orange, New Jersey 07079
973-763-5000
Attorneys for Plaintiff
NJ Attorney ID 00690-1992
 Plaintiff                                SUPERIOR COURT OF NEW JERSEY
                                          LAW DIVISION-SOMERSET COUNTY
 UNITED SUPPLY COMPANY,
 Division of USCO, INC.                   Docket No. SOM L

 vs.                                      Civil Action

 Defendants
                                          COMPLAINT
 OPTIMUM AIR SOLUTION INC.,
 HERSH FRIED and FRAIDEL FRIED


       Plaintiff ,   by   and   through    counsel,     complaining      of     the

Defendants, says:

                                 THE PARTIES

       1.    Plaintiff is in the business of selling plumbing supplies

and related materials to the commercial trade.

        2.   Plaintiff maintains a place of business at 457 West End

Avenue, North Plainfield (Somerset County) , New Jersey 07060.

       3.    Defendant Optimum Air Solution Inc. ("Optimum") is an
active corporation organized and existing under the laws of the

State of New York.

       4.    Optimum maintains a place of business at 5 Jill Lane
#100, Monsey (Rockland County) , New York 10952.

       5.    Defendants Hersh Fried and Fraidel Fried ( collectively

the "Frieds") are natural persons with a last known address of 5

Jill Lane #100, Monsey ( Rockland County), New York 10952.
    SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 2 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 3 of 15 PageID: 7



       6.    The Frieds are owners/officers of Optimum and personal

guarantors, jointly and individually, of its indebtedness to

Plaintiff.


                                 FIRST COUNT
        ( Book Account/Breach of Contract/Unjust Enrichment )

       7.    Plaintiff   repeats      the    allegations    of   the preceding

paragraphs as though set forth herein at length.

      8.    On or about April 22, 2004 Optimum executed and delivered

a credit application to Plaintiff.

      9.    Along with the credit application the Frieds executed and

delivered their personal guaranties of monies owed by Optimum.

     10 .   A true, redacted copy of the Credit Application And

Personal Guarantee is annexed as Exhibit A.

     11.    Thereafter the parties conducted business in accordance

with the terms of credit and reliance on the Frieds' personal

guaranties.

     12.    Optimum became indebted to Plaintiff on a book account

and for the reasonable value of merchandise sold and delivered,

and/or services rendered as set forth on Plaintiff's statement

annexed as Exhibit B.

     13.    In   accordance    with    the    parties' agreement,       finance
charges accrued on the unpaid balance as reflected on Plaintiff's

statement (Exhibit B ).




                                      -2-
    SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 3 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 4 of 15 PageID: 8



       14.    At the time of default there was due and owing on the

book account the sum of $240,991.78, which amount Optimum agreed to

pay.

       15.    The account was referred for collection.

       16.    Optimum made one payment of $5,000.00 on account of the

outstanding balance for which credit is given, leaving a balance

due on the book account of $235,991.78 (Exhibit B).

       17.    Notwithstanding    Plaintiff's demands, Optimum failed ,
refused, and neglected to make any further payments on the open

balance.

       18 .   Optimum has been unjustly enriched by accepting the value

and benefit of Plaintiff's goods and services without payment

therefor.

       19.    Plaintiff has been damaged by Optimum's conduct.

              WHEREFORE, Plaintiff demands judgment against Optimum on

this count in the sum of $235,991.78, plus interest, costs, and

such other relief as the Court deems fair, just, and equitable.


                                SECOND COUNT
                             (Attorney's Fees)

       20 .   Plaintiff repeats and reasserts the allegations of all

preceding paragraphs as though set forth herein at length.

       21 .   Pursuant to the terms of the credit application ( Exhibit

A), in the event of default and Plaintiff turning the account over




                                      -3-
    SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 4 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 5 of 15 PageID: 9



for collection, Optimum would pay an additional twenty five (25%)   -
percent of the amount due as a collection fee.

      22.   At the time of Optimum's default there was due and owing
on the book account the sum of $240,991.78, twenty-five (25%)

percent of which equals $60,247.94.

            WHEREFORE, Plaintiff demands judgment against Optimum on

this count in the sum of $60,247.94, plus interest, costs, and such

other relief as the Court deems fair, just, and equitable.


                                 THIRD COUNT
                                 (Guaranty)
      23.   Plaintiff repeats and reasserts the allegations of all

preceding paragraphs as though set forth herein at length.

     24.    The Frieds are owners/officers of Optimum.
     25.    On or about April 22, 2004, Hersh Fried and Fraidel Fried

executed and delivered to Plaintiff their personal guaranties of

all the indebtedness of Optimum.

     26.    A true, redacted copy of the Frieds' personal guaranties
is annexed as part of Exhibit A.

     27.    Notwithstanding Plaintiff's demands, the Frieds failed,

refused, and neglected to make payment.

     28.     The Frieds, jointly and individually, are therefore

indebted to Plaintiff for the total indebtedness of Optimum which

totals to $296,239.72.

            WHEREFORE, Plaintiff demands judgment against Hersh Fried

and Fraidel Fried, jointly and individually, on this count in the
                               -4-
     SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 5 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 6 of 15 PageID: 10




total sum of $296,239.72, plus interest costs, and such other
relief as the Court deems fair, just , and equitable.

             WHEREFORE,     Plaintiff       demands   judgment     against       all
Defendants, jointly and individually, on all counts in the total

sum of $ 296,239.72, plus interest and costs.

                                      TURNER LAW FIRM, LLC
                                      Attorneys for Plaintiff


                                      BY:
Dated:    June 7, 2021                       ANDREW R. TURNER

                        CERTIFICATION PURSUANT TO
                   R. 4: 5-1 and R. 1:38-7 ( b) and (c)
                    and DESIGNATION OF TRIAL COUNSEL

      The matter in controversy is not the subject of any other

action pending in any Court or of a pending arbitration proceeding,

nor is any other action or arbitration proceeding contemplated to
the best of my knowledge. There are no other parties who should be
joined in the action.

      I certify that confidential personal identifiers have been
redacted from documents now submitted to the court, and will be

redacted from all documents submitted in the future in accordance

with R. 1:38-7(b).
      Andrew R. Turner is hereby designated as trial counsel.

                                      TURNER LAW FIRM , LLC
                                      Attorneys for Plaintiff


                                      BY:
Dated:    June 7, 2021                       ANDREW R. TURNER

                                       -5-
     SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 6 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 7 of 15 PageID: 11




                  EXHIBIT A
                                                  13 Tran s ID: LCV                                                        20211380556
Case
  SOM -L-000784-21 06/07/2021 3:44
     3:21-cv-14408-MAS-RLS     Document   1-17 of
                                   :02 PM Pg   Filed  07/30/21    Page 8 of 15 PageID: 12




                        CREDIT APPLICATION AND PERSONAL GUARANTEE

                                   — 1 M USCO/INC
                                           WMUY COU AHY / COarc TCWTROU
                                           P* O.     ^
                                                  U« »
                                                                  ^
                                                            C« a AVMMi XWU
                                    . WAtftUi* DhtrtlhitOfi/J'WmWfli ,
                                                                            *
                                                                                          * fATH       AUTH**T(CKITO< EHI
                                                                                          North WdOtttUL NU< 07« «1
                                                                                                    intWlrtel .imnti

                                                      .
                                         Weal fend AYd & Rt 22, North PlatofiekL NJ 07061 . (908) 757-3232 O


                                        .     —   -
                                         Route17$ a, Robteson Rdk, Lodi, NJ 07644
                                         2305 Route 9, Tbm* Rbttr, NJ 03753
                                         7ACHto Court Dayton , NJ 00810
                                                                                .
                                                                                          . (2oi ) se7 aiaoX
                                                                                             .
                                         47 Nawmw Spring Rd „ Shffcwtbury NJ 07702 . . (732) 741*1111 Tf
                                                                                          . (732) 36345600 O
                                                                                            (732) 329 -6301 O
                                         1001 Lovrar Landing Rocd, Blackwood, NJ 08012 * ** (809 ) 232*0420
                                                                                            pr M




                                                    Air h/a-bOt)s / f?c6
 Applicant's Name

Street
           ~
           7 C&sfor £g/2£=.
                                ( j/ pZnr/ zm              '


                                                          City
                                                               ^   / DcriS&Lf State                    A/ZZip / rff <PTA No. g/S        - fafe&YZT
 Type of Business           ri/Ac.       /n ktzz/bhZn £            Sdn/ zce,                                 No. of Year Estab.
                                                                                                                        *               3
                            Proprisiorship                               Partnership                             Carp  .
 PRINCIPALS and /or OFFICERS
 Name      /TVC/7 Zr?AzZ-                                               Title       Z^yPr/ zZp/TA        .     . . ^_
                                                                                                             Soc Sec No
 Address       7 Cector                                                                   Own                          Rent        IS
 Name                                                                   Title                                Soc, Sea No,
 Address                                                                                  Own                     *    Rent
 FINANCIAL INFORMATION
 Name of Bank (s)           fl/to/coF          MM 5to                     Branch                                  Acct, No, {      _
 Name of Bank (s|                                                         Branch                                  Acctv No     -
 TRADE REFERENCES
 Name AfoSCO ZQ/ f >Z>}U /r ) C.

                        . rJ/ Zri& krs
                                       -                       Street  °Z?OhPrf
                                                                            or
                                                                               Zftf fy City /ZifflSfxJState HZ
                                                                                      M    ftr          T
                                                               SxrmtZ /rtZjSZfa/ Dr . 1s Cfrv S/KAm State W
                                                                                                                   *          ~~




 Name tffflc                        i/
 Name      iMilSZQCL #WdZL                                     Street    /bfflOftiZc: Dr . City @fasdiZd£ State

 of purchase    .           -
 AService Charae of 1 1/2% per month will bo made on bite remalrfnfl unpaid Attar the1Qtfi of thesecond month from date

 if this account is placed intne hands of a bonded collection agency, or attorney for collection the applicant and guarantor
 shall pay an amount equal to 25% of the unpaid principal and interest as a collection fee, which amount the undersigned
 agrees (a reasonable       .                  i

 Thta (it to carttfy that tha undaratfanad Is a principal In th# aDova namad bu« iit M, m cdnaWamflon for th*
                                           .
 aManaion at wad It by USCO/INC amt Ha dlviatona and any afflliatat, th undaralgnad
                                                                                *
                                                                                            * , Jointly and uvailiy, do
 pBratmadyguarcntaapayRMmtofallinantaa ow*d                        .
 Date               Z/ zz/oZ
                    •                     Principal
                                                          '
                                                           y
                                                               ^—C JL                      / r/
                                                                                       TSIncnvfrtuiUv                                       L ,S.

 Date               /-
               ' Z Z Z /DZ                Principal's Spouse
                                                                       ZZ                          ^
                                                                                                   skirZ
                                                                                                   i
                                                                                                     ~
     SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 8 of 13 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 9 of 15 PageID: 13




                  EXHIBIT B
                            SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 9 of 13 Trans ID: LCV20211380556
           Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 10 of 15 PageID: 14




                 Statement As of Date: 3/31/2021
                                                usco                                                                  Statement
                                                457 West End Avenue                                                      CUSTOMER ID
                                                North Plainfield, NJ 07060                                                     107061
                                                     -
                                                908 757-3232                                                      AS OF DATE            PAGE
                                                           -
                                                908-757 3232                                                       3/31/2021             1 of 5
               AtR CONDITIONING • HEATING
                PLUMBING •GENERATORS

                                                OPTIMUM AIR SOLUTION, INC
                                                                                                                     Total Amount Due:
                                                Customer ID:   10706 ]
                                                5 Jill Lane                                                              240,991.78
                                                Monsey, NY 10952
                                                 USA
                                                     -     -
                                                845 642 5195

               Invoice         Invoice         Due                                 Purchase Order     Amount            Invoice         Amount
               Number            Date          Date                                   Number            Due             Number          Enclosed
           688795             5/30/2019     6/30/ 2019     2 CHELSEA                                 3.704.69            688795
           690009             5/31/2019     6/30/2019                                                  262.56            690009
           690056             5/31/2019     6/30/2019      32 bcckctt                                  811.41            690056
           690057
           690059
                              5/31/2019
                              5/31 /2019
                                            6/30/ 2019
                                            6/30/2019           12 ELAINE
                                                                         —
                                                               12 dainc lst fir                        527.52
                                                                                                     1 ,866.44
                                                                                                                         690057
                                                                                                                         690059
           690061             5/31/2019     6/30/2019          YOSS!                                    95.97 *          690061
           690206             5/ 31 /2019   6/30/ 2019     15 F1ELDCREST MONSEY                      1,090.35            690206
           690207             5/31 /2019    6/30 /2019         90 HJGHVIBW                           2.180.69            690207
           690500             6/ 1/2019     6/1/2019       Service Charge                            2,006.36            690500
           691520             6/5/2019      7/31 /2019     43 NEW COUNTY RD                          3,293.19            691520
           693659             6/11/ 2019    7/31/2019      8 YALE 1  -                               1,706.60            693659
           693666             6/11 /2019    7/31/2019      14 MOCCASIN                                687.79             693666
           695565             6/17/2019     7/31 /2019                       --
                                                               10 MILFORD MONSEY                     2,223.43            695565
           695566             6/17/2019     7/31/2019                                  -
                                                               43 NORTH MADISON AVE SP VALLEY        1,236.46            695566
           695567             6/ 17/2019    7/ 31 /2019        MEZRITCH 10977                        1,375.57            695567
           698191            6/21 /2019     7/ 31 /2019         43 north madison                     1,236.46            698191
           698192            6/21/2019      7/31/2019          10 milford                            1,348.65            698192
           698255             6/21 /2019    7/31 /2019         MEZRITCH 1 0977                       1,238.55
                                                                             ,
                                                                                                                        698255
           700780            6/26/2019      7/31 /2019         43 NORTH MADISON APT 101              1 ,090.86          700780
           700837             6/26/2019     7/31 /2019     2 aydcn suffern                            733.00            700837
           700841            6/26/2019      7/31 /2019         8 SOUTH POST AIRMONT                   978.79            700841
           70085$            6/26/2019      7/31 /2019                                              2,060.87            700858
           702099            6/27/2019      7/31 / 2019    11 TEMPO NEW CITY                          638.50            702099
           702 ) 00          6/27/2019      7/31/ 2019                   -
                                                           32 Bcckctt 10952                           970.50            702100
          702178             6/27/2019      7/31/2019      26 MEZRITCH RD                            2,146.05           702178
          703 ) 42           6/28/2019      7/31 /2019
                                                                                                    -2,223.43           703142
          703840             7/ 1 /2019     7/1/2019       Service Charge                           2,429.61 .          703840
          705685             7/8/2019       8/31 /2019         43 NORTH MADISON SP VALLEY           1,090.86            705685
          705699             7/8/2019       8/ 31 / 2019   42 BRIARCLIFF - 10952                      681.67            705699
          705700             7/8/2019       8/31/2019      7 willows sp valley
                                                                                                      733.00            705700



12 IT 871. Ifl / KV20 ) 2
                        SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 10 of 13 Trans ID: LCV20211380556
             Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 11 of 15 PageID: 15



               Statement As of Date: 3/31/2021
                                               usco                                                                                Statement
                                               457 West End Avenue                                                                    CUSTOMER ID
                                               North Plainfield , NJ 07060                                                                  307061
                                               908-757-3232                                                                    AS OF DATE            PAGE
                                                    -
                                               908 757-3232                                                                     3/31/2021             2 of 5

                         -
             AIR CONDITIONING ' HEATING
              PLUMBING GENERATORS

                                               OPTIMUM AIR SOLUTION, INC,
                                                                                                                                  Total Amount Due;
                                               Customer ID:    107061
                                               5 Jill Lane                                                                             240,991 ,78
                                               Monsey, NY 10952
                                               USA
                                                          -
                                               845-642 5195

              Invoice          Invoice        Due                                          Purchase Order   ’

                                                                                                                  Amount             Invoice         Amount
              Number             Date         Date                                            Number                Due              Number          Enclosed
         705757              7/8 /2019     8 /31/2019         26 tnczTetch     NEW SQUARE                       1,575.87              705757
         705805              7/8/2019      8/31/2019      103 WEST st SP valley                                 3,032.24 .            705805
         705901              7/8/2019      8/31 /2019     8 LARK 10977                                          4.991.65              705901
         706391              7/9/2019      8/31 /2019     4 Rockwood 10901                                      6,265.43              706391
         706392              7/9/ 2019     8/31 / 2019    43 north mactfsor* sp valley                          2,472.91              706392
         706394              7/9/ 2019     8/31 / 2019        38 mcitt’itch first b-                              691.03              706394
         706406              7/9/ 2019     8/31 / 2019        6 ROCKRUXJE 10984              THEILLS              678.63              706406
         707493              7/11 /2019    8/31/2019          31 NORTH MADISON                                    545.43              707493
         707532              7/11/2019     8/31/2019          3 glode airmont                                   3.507.66              707532
         710010              7/ 16/2019    8/31 /2019     43 NORTH MADISON SPR VALLEY                           2,472.91              710010
         710017              7/16/2019     8/31/2019      31 N madison 10977 spring valley                        545.43              710017
         710438
         712137
                             7/17/2019
                             7/22/2019
                                           8 /31/2019     31 N. MADISON 10977  -                                1,090,86 .            710438
                                           8/31/2019                                                              545.43              712137
         712178              7/22/2019     8 /31 /2019                -
                                                          8 Dunhill 10952                                       5,480.17              712178
         713653              7/ 24 /2019   8/31 /2019     14 PENNY 10950                                        1,882,31 !            713653
         713762              7/24/2019     8/31/2019      7 DORCHESTER MONSEY                                   1,781.38’             713762
         714820              7/25/ 2019    8/31 /2019                                                             545.43 :            714820
         714821
         717816
                             7/ 25/2019
                             7/31 /2019
                                           8/31/2019                      -
                                                          31 N Madison 10977 1         -                          545.43
                                                                                                                           '

                                                                                                                                      714821
                                           8/31 / 2019        6 bohr 10977 spring valley                        1,767.76   '
                                                                                                                                      717816
         719060              7/31 /2019    8/31 / 2019        19 valley view                                    2,472.91              719060
         719063              7/ 31 /2019   8 /31 / 2019   12 MOUNTAIN                                             691.03 ;            719063
         719071              7/31 /2019    8/31/ 2019     43 north madison 10977                                2,513 75
                                                                                                                      ,               719071
         719448              8/1/2019      8/ 1/2019      Service Charge                                        2,054.50              719448
         720504              8/5/2019      9/30/ 2019         43 NMADSION #104                                    890.56 i            720504
         720506              8/5/2019      9/30/2019      4 ANN                                                 1,256.89             720506
         720507              8/5/2019      9/30/ 2019         165 GRANDVIEW                                       691.03 ;            720507
         720866              8/7/2019      9/30/2019          31 NORTH MADISON SPR VALLEY                         890.56 ;           720866
         720867              8/ 7/2019     9/30/2019          43 NMADSION # 104                                   708.30             720867
         722283              8/9/2019      9/30/ 2019         110 SUNSET RD BLAUVELT                              991.75             722283
        722284               8/9/2019      9/30/2019          7 OVERBROOK 10952                                 1,260.52 ;           722284




         .
12 11.871 I 0/ UV2O12
                        SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 11 of 13 Trans ID: LCV20211380556
         Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 12 of 15 PageID: 16




             Statement As of Date: 3/31/2021
                                            usco                                                                         Statement
                                                                                                                            CUSTOMER ID
                                           457 West End Avenue
                                           North Plainfield , NJ 07060                                                            107061

                                           908-757 3232-                                                             AS OF DATE            PAGE
                                           908-757 3232-                                                              3/31/2021             3 of 5
            AIR CONOrriONlHO » HEATING
             PLUMBING => GENERATORS

                                           OPTIMUM AIR SOLUTION, INC.
                                                                                                                        Total Amount Due:
                                            Customer ID:    107061                                                           240,991.78
                                            5 Jill Lane
                                            Monsey, NY 10952
                                            USA
                                           845*642 5195*




            Invoice        Invoice         Due                                      Purchase Order    Amount               invoice         Amount
            Number           Date          Date                                        Number          Due                 Number :        Enclosed
         723789           8/14/2019      9/30/2019         4 BROOKS EDGE 10956                         970.50               723789
                                                                                                                 ’
         723864           8/14/2019      9/30/2019     4 ANN        SPR VALLEY                         260 ,38              723864
         724344           8/ 14/2019     9/30/2019          31 N MADISON RIGHT TOP 109                 890.56 ;             724344
         724345
         726195
                          8/14 /2019
                          8/20/2019
                                         9/30/2019
                                         9/30/2019
                                                           31 N MADISON TOP FLR M1D     -              890.56
                                                                                                      -638.50 -
                                                                                                                 -          724345
                                                                                                                            726195
         726494           8/20/2019      9/30/2019         85 WSETST SPRG VALLEY                     1 ,630.25 ;            726494
         726549           8/20/2019      9/30/2019         371 REMSEN 10952                          1,435.99               726549
         728031           8/23/2019      9/30/2019          181 BLAUVELT                             1 ,090.86              728031
         728049           8/23/2019      9/30/2019         181 BLAUVELT BACK                         2,293.69               728049
         730119           8/27/2019      9/30/2019         10 AMBER                                  4,064.60               730119
         730156           8/27/2019      9/30/2019          181 BLAUVELT                             1 ,382,05              730156
         730157           8/27/2019      9/30/2019         6 MONSEY BLVD                                   .
                                                                                                     1.636 29               730157
          730158          8/27/2019      9/30/2019         85 WSETST SPRG VALLEY                       691 ,03              730158
          732000          8/30/2019      9/30/ 2019                         -
                                                            181 Blauvelt Rd Mid house                2, 472.91              732000
          732002          8/30/2019      9/30/ 2019        181 BLAUVELT RD-FROMT R&L                 2,606.68               732002
          732003          8/30/2019      9/30/2019         6 MONSEY BLVD~2QL20 t 203        -        4,945.431              732003
          732004          8/30/2019      9/30/2019                              -
                                                           6 monsey blvd 211 10952                     691,03 -             732004
          732977          9/1/2019       9/1/2019          Service Charge                            2.454.30               732977
          734123          9/6/2019       10/31 /2019                                                    90.59    '
                                                                                                                            734123
          737446          9/17/2019      10/31 /2019                                                 2,074.27 -             737446
          737447          9/ 17/2019     10/31 /2019 11 Tempo                                          638.72 =             737447
          737448          9/17/2019      10/31 /2019 27 YALE                                         3,101.24 :             737448
          73745!          9/17/2019      10/31/2019 6 MONSEY BLVD 201&202                            3,163.18 ;             737451
          739810          9/23/2019      10/31/2019                     -
                                                            21 ViNCENT CONDENSERS                    8,261.021              739810
          741421          9/26/2019      10/31/2019                                                  -1,707.88!             741421
          741547          9/26/2019      10/31/2019 17 south post airmont pads      -                  214.61 ;             741547
          741676          9/26/2019      10/31/2019 12 SOUTH POST AIRMONT                            5,167.78               741676
          741678          9/26/20 J 9    10/31/2019 8 BLUEBJRD-COND UNITS                            4,229.30 .             741678
          744279          10/1 /2019  10/ 1/2019 Service Charge                                      2,434.01               744279
          748928          10/ 15/2019 11/30/2019 4 ANN ADDITIONAL   -                                  720.62
                                                                                                                 :
                                                                                                                            748928




12   n 87|, JOnO/2012
                         SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 12 of 13 Trans ID: LCV20211380556
         Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 13 of 15 PageID: 17




             Statement As of Date: 3/31 /2021
                                            usco                                                                  Statement
                                            457 West End Avenue                                                      CUSTOMER ID

                                            North Plainfield, NJ 07060                                                     107061
                                                 - -
                                            908 757 3232                                                      AS OF DATE            PAGE
                                                 - -
                                            908 757 3232                                                       3/31/2021            4 of 5
           AIR CONDITIONING » HEATING
            PLUMBING * GENERATORS

                                            OPTIMUM AIR SOLUTION, INC.
                                                                                                                 Total Amount Due:
                                            Customer ID:    107061
                                                                                                                     240,991.78
                                            5 Jill Lane
                                            Monsey, NY 10952
                                            USA
                                                 - -
                                            845 642 5195

            Invoice         Invoice         Due                              Purchase Order     Amount              Invoice    Amount
            Number            Date          Date                                Number            Due               Number . . Enclosed
        748935             10/15/2019 11/30/2019         26 MEZRTCH NEW SQUARE                  485.01               748935
        757955             11/ 1/2019    11/1/2019      Service Charge                         2.846.16              757955
        770999             12/1 /2019    12/ 1 / 2019   Service Charge                         2,917.60              770999
        782772             1/ 1/2020     1/1 / 2020     Service Charge                         2.952.80   '
                                                                                                                     782772
        783470             1/6/2020      2/28/2020       21 MORRIS                              537,75 ;             783470
        783471             1 /6/2020     2/28 / 2020                -
                                                        6 SHERRI ROUGH 1N.                     1 ,009,43 '           783471
         783472            1 /6/2020     2 /28/2020     6 SHERRI                                 233.17 : t
                                                                                                                     783472
         784017            1/7/ 2020     2/ 28/2020     3 NANCY                                  309.67 .            784017
         786291            1/14/2020     2/28/2020      8 BLUEBIRD CHESTNUT RIDGE 10952         638.50               786291
         794586            2/1/2020      2/ 1 /2020     Service Charge                         2,953.43              794586
         805717            3/1/2020      3/ 1/ 2020     Service Charge                        3,036.33               805717
         807912            3/10/2020     4/30/2020      8 BLUEBIRD                             1330.57               807912
         817156            4/1/2020      4/1/2020       Service Charge                         3,061.25              817156
         825471            5/ 1 /2020    5/1/2020       Service Charge                         3,065,21              825471
         836423            6/ 1 /2020    6/ 1/ 2020     Service Charge                         3,233.87              836423
         847420            6/ 24/ 2020   7/31/2020      43 new country                         7,0!M0     *

                                                                                                                     847420
         853333            7/ 1 / 2020   7/1/2020       Service Charge                        3,073.71               853333
         861311            7/21 /2020    8/31/2020              -
                                                        27 YALE 4                              3,734.50              861311
         870595            8 /1 /2020    8/1 /2020      Service Charge                         3,268.35              870595
         874166            8/13/ 2020    9/30/2020      720 UNION, SPRING VALLEY              19,199.39              874166
         885144            9/1/2020      9/ 1 /2020     Service Charge                         2,972.78              885144
         898464            10/ 1/2020    10/1/2020      Service ChaTgc                         3.305.16              898464
         912217            11/1 /2020    11/ 1/ 2020    Service Charge                         3,356.08              912217
         918375            11/18/2020 12/31 /2020                                              1,271.15              918375
         924804            12/ 1/2020    12/1 /2020     Service Charge                         3,386.04              924804
         938992            1 / 1 /2021   1 /1 /2021     Service Charge                        3,455.90               938992
         950498            2/ 1 /2021    2/1 /2021      Service Charge                        3,578.04               950498
         961228            3/1 / 2021    3/ 1/2021      Service Charge                         3,570,03              961228




12 11.871, I OH 0/2012
                         SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 13 of 13 Trans ID: LCV20211380556
          Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 14 of 15 PageID: 18




                Statement As of Date: 3/31/2021
                                          usco                                                                                  Statement
                                          457 West End Avenue                                                                      CUSTOMER ID
                                          North Plainfield, NJ 07060                                                                     107061
                                              - -
                                         908 757 3232                                                                     AS OF DATE               PAGE
                                              - -
                                         908 757 3232                                                                        3/31/2021             5 of 5
                               -
              AIR CONDITIONING HEATING
               PLUMBING •GENERATORS

                                         OPTIMUM AIR SOLUTION, INC.
                                         Customer ID:                                                                          Total Amount Due:
                                                        107061
                                         5 Jill Lane                                                                                240,991.78
                                         Monscy, NY 10952
                                         USA
                                             - -
                                         845 642 5195
              Invoice        Invoice     Due                           Purchase Order
              Number                                                                                         Amount               Invoice         Amount
                               Date      Date                              Number                             Due .               Number          Enclosed
                                                                             Total Amount Due:           240,991.78



                           Current
                                            —   Invoice Age in Days
                                           < “ 30           31 to 60   61 lo 90     OVER 90
                              0.00       3,570.03          3,578.04    3,455.90   230.387.81                          j Total Amount
                                                                                                                                  Due:            240,991.78
                                                                                                                      Amount Enclosed:



                                                                                                                                                         * , oo
                                                                                                 / /V   ^   0
                                                                                                                                                     O



                                                                                                 /J     b /t l &iJ c <   .                                     1t




\ 2 11.871, 10/10/2012
         SOM-L-000784-21 06/07/2021 3:44:02 PM Pg 1 of 1 Trans ID: LCV20211380556
Case 3:21-cv-14408-MAS-RLS Document 1-1 Filed 07/30/21 Page 15 of 15 PageID: 19




                        Civil Case Information Statement
 Case Details: SOMERSET | Civil Part Docket# L-000784-21

Case Caption: UNITED SUPPLY COMPAN Y VS                          Case Type: BOOK ACCOUNT (DEBT COLLECTION MATTERS
OPTIMUM AIR SOLUTION                                             ONLY)
Case Initiation Date: 06/07/2021                                 Document Type: Complaint
Attorney Name: ANDREW R TURNER                                   Jury Demand: NONE
Firm Name: TURNER LAW FIRM, LLC                                  Is this a professional malpractice case? NO
Address: 76 SOUTH ORANGE AVE. P.O. BOX 526                       Related cases pending: NO
SOUTH ORANGE NJ 07079                                            If yes, list docket numbers:
Phone: 9737635000                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : United Supply Company                 transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: United Supply Company? NO




      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES
 If yes, is that relationship: Business
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 06/07/2021                                                                                       /s/ ANDREW R TURNER
 Dated                                                                                                           Signed
